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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

FILED

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
BUTTE DIVISION

 

UNITED STATES OF AMERICA,
Plaintiff,
vs.
HUNTER ANDREW DIETRICH,

Defendant.

 

CR23- 05 -BuU- DLS

INDICTMENT

INTERFERENCE WITH FLIGHT CREW
MEMBERS AND ATTENDANTS (Count 1)
Title 49 U.S.C. § 46504

(Penalty: 20 years of imprisonment, $250,000
fine, and three years of supervised release)

ABUSIVE SEXUAL CONTACT IN
SPECIAL AIRCRAFT JURISDICTION OF
THE UNITED STATES (Count 2)

Title 18 U.S.C. § 2244(b); 49 U.S.C. § 46506(1)
(Penalty: Two years of imprisonment,
$250,000 fine, and one year of supervised
release)

 

THE GRAND JURY CHARGES:
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COUNT 1

On or about February 11, 2023, on board Delta Airlines Flight 3789 en-route
from Salt Lake City, Utah to Bozeman, Montana, in the State and District of
Montana, and elsewhere, the defendant, HUNTER ANDREW DIETRICH, on an
aircraft in the special aircraft jurisdiction of the United States, did assault and
intimidate flight crew members and flight attendants of that aircraft, interfere with
the performance of the duties of the members and attendants, and did lessen the
ability of the members and attendants to perform those duties, in violation of 49
U.S.C. § 46504.

COUNT 2
On or about February 11, 2023, on board Delta Airlines Flight 3789 en-route

from Salt Lake City, Utah to Bozeman, Montana, in the State and District of
Montana, and elsewhere, the defendant, HUNTER ANDREW DIETRICH, on an
aircraft in the special aircraft jurisdiction of the United States, did knowingly

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engage in sexual contact with another person without that other person’s
permission, in violation of 18 U.S.C. § 2244(b) and 49 U.S.C. § 46506(1).

A TRUE BILL.

Foreperson signature redacted. Original document filed under seal.

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Fe JESSE A. LASLDVICH
United States Attorney

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CYS EE L. PETERSON
cp Chief Assistant U.S. Attorney
